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                        UNITED STATES DISTRICT COURT
                        EASTERN DISTRICT OF LOUISIANA

IN RE: TAXOTERE (DOCETAXEL)                         )   MDL No. 16-2740
PRODUCTS LIABILITY                                  )
LITIGATION                                          )   SECTION: “H” (5)
                                                    )
This document relates to:                           )
Barbara Earnest, 16-17144                           )


                                 ORDER AND REASONS

         Before the Court is Plaintiff’s Motion to Exclude Expert Testimony that
Relies Upon Defendants’ Employee Dr. Michael Kopreski (Doc. 6160). The
Court heard oral argument on July 25, 2019. For the following reasons, the
Motion is DENIED.


                                      BACKGROUND

         Plaintiffs in this multidistrict litigation (“MDL”) are suing several
pharmaceutical          companies      that     manufactured   and/or   distributed   a
chemotherapy drug, Taxotere or docetaxel, 1 that Plaintiffs were administered
for the treatment of breast cancer and other forms of cancer. Plaintiffs allege
that the drug caused permanent alopecia—in other words, permanent hair
loss. Plaintiffs bring claims of failure to warn, negligent misrepresentation,
fraudulent misrepresentation, and more.
         The first bellwether trial of Plaintiff Barbara Earnest (“Plaintiff”) is set
to begin September 16, 2019. In the instant Motion, Plaintiff moves to exclude
expert testimony that relies on a certain analysis conducted by Dr. Michael
Kopreski. Dr. Kopreski is a former employee of Sanofi who provided deposition


1   Docetaxel is the generic version of Taxotere.
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testimony as Sanofi’s 30(b)(6) witness. Defendants have not proffered Dr.
Kopreski himself as an expert, but several of Sanofi’s designated experts rely
on Dr. Kopreski’s post hoc analysis of alopecia adverse events in the Taxotere
clinical study, TAX 316.
      TAX 316 was a 1997 Sanofi clinical trial testing the efficacy of Taxotere
in the treatment of adjuvant breast cancer. As part of the trial, participants
were followed for 10 years after their treatment. During this period,
researchers tracked ongoing adverse events, including alopecia. The study, as
reported to the FDA, concluded that roughly 4 percent of the participants
experienced “ongoing alopecia.”
      In conjunction with this litigation and in response to a 30(b)(6) deposition
notice, Dr. Kopreski performed a re-analysis of the TAX 316 data as it relates
to ongoing alopecia. His updated analysis reports that less than 1 percent of
patients experienced “persistent alopecia.” Three of Defendants’ experts—Dr.
John Glaspy, Dr. Janet Arrowsmith, and Mr. Justin Victoria—rely on the
findings of Dr. Kopreski in the expert opinions they intend to render at trial.


                             LEGAL STANDARD
      The admissibility of expert testimony is governed by Federal Rule of
Evidence 702, which provides as follows:
      A witness who is qualified as an expert by knowledge, skill,
      experience, training, or education may testify in the form of an
      opinion or otherwise if:
            (a) the expert’s scientific, technical, or other specialized
            knowledge will help the trier of fact to understand the
            evidence or to determine a fact in issue;
            (b) the testimony is based on sufficient facts or data;
            (c) the testimony is the product of reliable principles and
            methods; and

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               (d) the expert has reliably applied the principles and
               methods to the facts of the case. 2
       The current version of Rule 702 reflects the Supreme Court’s decisions
in Daubert v. Merrell Dow Pharms., Inc. 3 and Kumho Tire Co. v. Carmichael. 4
The threshold inquiry in determining whether an individual may offer expert
testimony under Rule 702 is whether the individual has the requisite
qualifications. 5 After defining the permissible scope of the expert’s testimony,
a court next assesses whether the opinions are reliable and relevant. 6 As the
“gatekeeper” of expert testimony, the trial court enjoys broad discretion in
determining admissibility. 7
       First, to assess reliability, a court considers whether the reasoning or
methodology underlying the expert’s testimony is valid. 8 The party offering the
testimony bears the burden of establishing its reliability by a preponderance
of the evidence. 9 Courts should exclude testimony based merely on subjective
belief or unsupported speculation.             10    Courts must, however, give proper
deference to the traditional adversary system and the role of the jury within
that system. 11 “Vigorous cross-examination, presentation of contrary evidence,
and careful instruction on the burden of proof are the traditional and
appropriate means of attacking shaky but admissible evidence.” 12 After

2 FED. R. EVID. 702.
3 509 U.S. 579 (1993).
4 526 U.S. 137 (1999).
5 Wagoner v. Exxon Mobil Corp., 813 F. Supp. 2d 771, 799 (E.D. La. 2011); see also Wilson v.

Woods, 163 F.3d 935, 937 (5th Cir. 1999) (“A district court should refuse to allow an expert
witness to testify if it finds that the witness is not qualified to testify in a particular field or
on a given subject.”).
6 See United States v. Valencia, 600 F.3d 389, 424 (5th Cir. 2010). See also Wellogix, Inc. v.

Accenture, L.L.P., 716 F.3d 867, 881–82 (5th Cir. 2013).
7 Wellogix, 716 F.3d at 881.
8 See Daubert, 509 U.S. at 592–93.
9 See Moore v. Ashland Chem. Inc., 151 F.3d 269, 276 (5th Cir. 1998).
10 See Daubert, 509 U.S. at 590.
11 See id. at 596.
12 Id.



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assessing reliability, a court evaluates relevance. 13 In doing so, a court must
determine whether the expert’s reasoning or methodology “fits” the facts of the
case and will thereby assist the trier of fact in understanding the evidence. 14
       Federal Rule of Evidence 703 further provides that an expert may offer
opinions based on otherwise inadmissible facts or data but only if (1) they are
of the kind reasonably relied upon by experts in the particular field; and (2)
the testimony’s probative value substantially outweighs its prejudicial effect. 15



                                LAW AND ANALYSIS

       Plaintiff argues that Sanofi’s experts—specifically, Dr. John Glaspy, Dr.
Janet Arrowsmith, and Mr. Justin Victoria—should not be permitted to
“parrot” Kopreski’s opinion on the TAX 316 study. Plaintiff argues that Dr.
Kopreski’s re-analysis of the study results was litigation-driven and therefore
fundamentally unreliable. Plaintiff takes issue with Sanofi’s experts’
acceptance of Dr. Kopreski’s re-analysis—they note that Dr. Arrowsmith
merely reviewed Dr. Kopreski’s analysis before accepting it and that Mr.
Victoria testified that he does not know what data Dr. Kopreski used or where
it came from. 16 Plaintiff compares Dr. Kopreski to a “Trojan horse” whose re-
analysis will reach the jury without being subject to cross-examination.
       “Federal Rule of Evidence 703 allows experts to base their opinions on
facts or data that the expert has been made aware of or personally observed,
which includes the efforts of other experts, provided that ‘experts in the
particular field would reasonably rely on those kinds of facts or data in forming


13Burst v. Shell Oil Co., 120 F. Supp. 3d 547, 551 (E.D. La. June 9, 2015).
14Id.
15 FED. R. EVID. 703.
16 What is not before this Court is a Daubert challenge to Dr. Glaspy, Dr. Arrowsmith, or Mr.
Victoria.

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an opinion on the subject.’” 17 As the Sixth Circuit has written, “[g]reat
liberality is allowed the expert in determining the basis of his opinions.” 18
Accordingly, experts are permitted to rely on analyses or studies conducted by
others, provided such reliance is reasonable. 19
       Here, Defendants explain that their experts conducted independent
reviews of Dr. Kopreski’s work. Dr. Arrowsmith, for example, examined patient
data for two TAX 316 patients and reached the same conclusions as Dr.
Kopreski, leading her to conclude his analysis was reliable. The experts’
reliance on Dr. Kopreski’s analysis, therefore, passes muster. Further, the
Court disagrees with Plaintiff’s characterization of Dr. Kopreski as a “Trojan
horse.” In Greek mythology, the people of Troy had no knowledge of what was
inside the horse. Here, Plaintiff is very familiar with the contents of this so-
called “Trojan horse.” Dr. Kopreski was deposed three times, and the
depositions spanned six days and over 25 hours. On cross-examination,
Plaintiff can illuminate for the jury that these experts relied on Dr. Kopreski’s
re-analysis. Plaintiff can ask these experts to explain why such reliance was
warranted, and the jury can decide whether to credit the experts’ testimony.




17 Tajonera v. Black Elk Energy Offshore Operations, LLC, 2016 WL 3180776, at *10 (E.D.
La. June 7, 2016).
18 Eggert v. Meritain Health, Inc., 428 Fed. App’x 558, 567 (6th Cir. 2011) (quoting Mannino
v. Int’l Mfg. Co., 650 F.2d 846, 853 (6th Cir.1981)).
19 See Tajonera, 2016 WL 3180776, at *11 (indicating that an expert witness can rely on
another expert if that expert’s methodology would be deemed reliable under Daubert); Sheats
v. Bowen, 318 F. Supp. 640, 644 (D. Del. 1970) (“In order for an expert to base his opinion on
a study it is necessary that he be able to testify of his own knowledge as to the nature and
extent of the source from which statistics were gathered.”) (citing Bogacki v. Am. Machine &
Foundry Co., 417 F.2d 400 (3d Cir. 1969)).
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                               CONCLUSION

     Accordingly, for the foregoing reasons, IT IS ORDERED that Plaintiff’s
Motion to Exclude Expert Testimony that Relies Upon Defendants’ Employee
Dr. Michael Kopreski (Doc. 6160) is DENIED.


     New Orleans, Louisiana this 14th day of August, 2019.




                                       JANE TRICHE MILAZZO
                                       UNITED STATES DISTRICT JUDGE




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